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10
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11

12
                     IN THE UNITED STATES DISTRICT COURT
13
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
14

15
       STANLEY JONES, individually and             Case No. '19CV2144 GPC MDD
16
       on behalf of all others similarly situated,
17                                                 CLASS ACTION COMPLAINT
                    Plaintiff,
18
                                                   DEMAND FOR JURY TRIAL
19     v.
20
       ACCREDITED DEBT RELIEF,
21     LLC, a California limited liability
       company, and BEYOND FINANCE,
22
       INC., a Delaware corporation
23
                    Defendants.
24

25
     ///
26
     ///
27
     ///
28
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 1
                                       CLASS ACTION COMPLAINT
 2

 3             Plaintiff Stanley Jones (“Jones” or “Plaintiff”) brings this Class Action

 4 Complaint and Demand for Jury Trial against Defendant Accredited Debt Relief,

 5
     LLC (“Accredited” or “Defendant Accredited”) and Defendant Beyond Finance,
 6

 7 Inc. (“Beyond” or “Defendant Beyond”) to stop the Defendants from violating the

 8 Telephone Consumer Protection Act by sending unsolicited, autodialed text

 9
     messages to consumers, including text messages that were sent to phone numbers
10

11 registered on the National Do Not Call registry (“DNC”), and to otherwise obtain

12 injunctive and monetary relief for all persons injured by the conduct of both

13
     Accredited and Beyond. Plaintiff, for his Complaint, alleges as follows upon
14

15 personal knowledge as to himself and his own acts and experiences, and, as to all

16 other matters, upon information and belief, including investigation conducted by

17
     his attorneys.
18

19                                                 INTRODUCTION
20
               1.       Accredited connects consumers with debt relief programs, functioning
21
     as a debt relief consultant.1
22

23             2.       Beyond is a financing corporation that provides debt relief and debt
24
     consolidation programs to consumers.2
25

26
     1
         https://www.accrediteddebtrelief.com
27   2
         https://beyondfinance.com/#how-it-works

28
                                           CLASS ACTION COMPLAINT
                                                     -2-
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 1          3.   Accredited functions as a lead generator for Beyond, providing

 2 Beyond with consumers that qualify for Beyond’s debt relief and consolidation

 3
     programs.
 4

 5          4.   Accredited runs an affiliate program so that it can generate leads for

 6 itself and on behalf of Beyond.

 7
            5.   Part of Accredited’s marketing plan uses affiliates includes sending
 8

 9 text messages en masse to consumers.

10          6.   Such text messages are sent using an autodialer without the necessary
11
     express written consent.
12

13          7.   Plaintiff received 2 autodialed text messages to his cellular phone
14 from Defendant Accredited, despite having his phone number registered on the

15
     DNC.
16

17          8.   In response to these text messages, Plaintiff files this class action
18 lawsuit seeking injunctive relief, requiring Accredited to cease from sending

19
     unsolicited, autodialed text messages to consumers’ cellular telephone numbers on
20

21 behalf of Beyond, and otherwise calling telephone numbers registered on the DNC,

22
     as well as an award of statutory damages to the members of the Class.
23
                                         PARTIES
24

25          9.   Plaintiff Jones is a Campbellsburg, Kentucky resident.
26

27

28
                                CLASS ACTION COMPLAINT
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 1         10.    Defendant Accredited is a California company with its head office

 2 located in San Diego, California. Accredited does business throughout this District,

 3
     California, and the United States.
 4

 5         11.    Defendant Beyond is a Delaware corporation with its head office

 6 located in Houston, Texas. Beyond does business throughout this District, Texas,

 7
     and the United States.
 8

 9                            JURISDICTION AND VENUE
10         12.    This Court has federal question subject matter jurisdiction over this
11
     action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
12

13 Protection Act, 47 U.S.C. §227 (“TCPA”).

14         13.    This Court has personal jurisdiction over Defendants and venue is
15
     proper in this District under 28 U.S.C. § 1391(b) because Defendant Accredited
16

17 has its headquarters in this District, and because the wrongful conduct giving rise

18 to this case was directed from this District.

19
                                COMMON ALLEGATIONS
20

21                    Accredited Generates Leads on Behalf of Beyond
22
           14.    Accredited states clearly on its website that it is an affiliate of Beyond
23
     Finance, Inc.:
24

25

26

27

28
                                 CLASS ACTION COMPLAINT
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 1

 2

 3

 4

 5
                                                                                    3
 6

 7             15.      Based on the language provided above, it is clear that Accredited
 8
     generates leads for Beyond.
 9

10
                       Accredited Uses Affiliates to Generate Leads for Beyond

11             16.      Accredited generates leads through a number of sources including the
12
     use of affiliates.
13

14             17.      On its website, Accredited describes its affiliate program, which

15 allows affiliates to earn money for qualified leads:

16

17

18

19

20

21

22

23

24

25

26

27   3
         https://www.accrediteddebtrelief.com/

28
                                            CLASS ACTION COMPLAINT
                                                      -5-
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                                                               4
 1

 2              18.     Accredited maintains control over its affiliate program by screening
 3
     its affiliates.
 4

 5           Accredited Uses Affiliates that Solicit Consumers Using an Autodialer

 6              19.     In sending the unsolicited text messages at issue, Defendant
 7
     Accredited, or a third party acting on its behalf, used an automatic telephone
 8

 9 dialing system; hardware and/or software with the capacity to store or produce

10 cellular telephone numbers to be called, using a random or sequential number

11
     generator, and/or to call numbers from pre-loaded lists. This is evident from the
12

13 circumstances surrounding the text messages, including the ability to trigger an

14 automated response by replying “STOP,” the text messages’ commercial and

15
     generic content, that they were sent without consent, and that they were sent from a
16

17 short code, which is consistent with the use of an automatic telephone dialing

18 system to send text messages.

19
   Accredited and Beyond Are Vicariously Liable for the Autodialed Solicitation
20
   Text Messages That Are Sent Out by Accredited’s Affiliates For the Benefit of
21                                  Beyond
                   to Phone Numbers Registered on the DNC
22

23              20.     Accredited exerts control over its affiliates through its screening
24
     process and by providing its affiliates with landing pages.
25

26

27   4
         https://www.accrediteddebtrelief.com/affiliate-program/

28
                                             CLASS ACTION COMPLAINT
                                                       -6-
     Case 3:19-cv-02144-GPC-MDD Document 1 Filed 11/07/19 PageID.7 Page 7 of 20




 1           21.      For example, the text message that Plaintiff received directs him to

 2 visit https://www.accrediteddebtrelief.com/landing-pages/12/.

 3
             22.      Accredited pays its affiliates for leads. By paying for these leads,
 4

 5 Accredited ratifies the methods used by its affiliates to acquire those leads.

 6           23.      Beyond has an Affiliate Marketing Manager who “works closely with
 7
     [its] affiliates/lead gen partners to manage [lead] volume, quality, and cost.”5 This
 8

 9 manager is directly involved in the campaigns run by and on behalf of Beyond.

10           24.      There are numerous complaints posted online regarding unsolicited
11
     telemarketing that has been done by Accredited’s affiliates. This complaint is an
12

13 example from June 13, 2019:

14           “Unsolicited call. On do not call list. They use a third party robo caller from
15           india to get around the do not call list and that third party employs an avr
             system to make cold robo calls. Once the avr is satisfied it connects the call
16           to Accredited. This is detestable.”6 (Emphasis added.)
17
             25.      Through its Affiliate Marketing Manager, Beyond should be aware of
18

19 the unsolicited telemarketing that Accredited’s affiliates are engaged in.

20
             26.      However, Beyond and Accredited both benefit by having Accredited’s
21
     telemarketing outsourced to affiliates.
22

23

24

25

26   5
      https://www.linkedin.com/jobs/view/affiliate-marketing-manager-at-beyond-finance-inc-1235542951/
     6
      https://www.bbb.org/us/ca/san-diego/profile/debt-relief-service-referral/accredited-debt-relief-1126-
27   172000797/complaints
28
                                          CLASS ACTION COMPLAINT
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 1         27.    Outsourcing the telemarketing does not absolve Beyond and

 2 Accredited from liability.

 3
           28.    The Federal Communication Commission has provided instruction
 4

 5 stating that sellers such as Beyond and Accredited many not avoid liability by

 6 having their telemarketing outsourced:

 7
           [A]llowing the seller to avoid potential liability by outsourcing its
 8         telemarketing activies to unsupervised third parties would leave consumers
 9         in many cases without an effective remedy for telemarketing intrusions. This
           would particularly be so if the telemarketers were judgment proof,
10         unidentifiable, or located outside the United States, as if often the case. Even
11         where third-party telemarketers are identifiable, solvent, and amenable to
           judgment limiting liability to the telemarketer that physically places the call
12         would make enforcement in many cases substantially more expensive and
13         less efficient, since consumers (or law enforcement agencies) would be
           required to sue each marketer separately in order to obtain effective relief.
14         As the FTC notes, because “[s]ellers may have thousands of ‘independent’
15         marketers, suing one or a few of them is unlikely to make a substantive
           difference for consumer privacy.”
16

17 In re Joint Petition Filed by DISH Network, LLC et al. for Declatory Ruling

18 Concerning the TCPA Rules, 28 FCC Rcd. 6574, at ¶ 37 (201) (“FCC 2013

19
     Ruling”) (citations omitted).
20

21         29.    By continuing to use Accredited as an affiliate itself, Beyond has
22
     ratified the methods Accredited uses to procure new clients, which includes
23
     unsolicited autodialed text message marketing by the affiliates of Accredited, and
24

25 which includes multiple text messages sent to phone numbers that are registered on

26
     the DNC.
27

28
                                 CLASS ACTION COMPLAINT
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 1            Plaintiff Received Unsolicited Autodialed Text Messages to
       His Cell Phone Despite Having His Phone Number Registered on the DNC
 2

 3         30.   On April 21, 2017, Plaintiff Jones registered his cell phone number on

 4 the DNC.

 5
           31.   Plaintiff Jones uses his cell phone for personal use only. It is not used
 6

 7 for business purposes.

 8         32.   On July 4, 2019 at 12:37 PM, Plaintiff Jones received an autodialed
 9
     text message on his cell from, or on behalf of Defendant using shortcode 410-100-
10

11 026:

12

13

14

15

16

17

18

19

20
           33.   Clicking on easy.wecanhelpfixyourcredit.com leads directly to the
21

22 Accredited Debt Relief website, more specifically

23 https://www.accrediteddebtrelief.com/free-

24
     quote/?affiliate_id=14&offer_id=40&subid1=5996&subid2=262&subid3=102174
25

26 4f6f38cfe9737b4bf1a8ef11&subid4=&subid5=&click_id=bljsutnqokqsds1qbv3g&

27

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 1 request_id=2-

 2 bkhl4vhj879sdnmjjeog&campaign_id=1328&utm_medium=affiliate&utm_source

 3
      =14&utm_campaign=16-1328.7
 4

 5            34.      The registry information for wecanhelpfixyourcredit.com is private.

 6            35.      On July 30, 2019 at 7:24 PM, Plaintiff Jones received a second
 7
      autodialed text message on his cell phone from, or on behalf of Defendant, this
 8

 9 time using shortcode 410-200-534:

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26    7
                                                                               Link tracker using Charles –
      (acreliefnetwork.com forwards directly to accrediteddebtrelief.com.) The other URL’s shown in the image are for
27    the sake of link tracking or unrelated to this case.
28
                                           CLASS ACTION COMPLAINT
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 1            36.      Clicking on 2kp9p4yngu17.donatesensation.info leads directly to:

 2 https://www.accrediteddebtrelief.com/landing-

 3
      pages/12/?affiliate_id=14&offer_id=40&subid1=5996&subid2=336&subid3=1027
 4

 5 40f97814f52b2549430b2c362e&subid4=&subid5=&click_id=bl0os9esaf8sdgjs07c

 6 0&request_id=2-

 7
      bkhl4vhj879sdnmjjeog&campaign_id=1328&utm_medium=affiliate&utm_source
 8
                            8
 9 =14&utm_campaign=16-1328.

10            37.      The registry information for donatesensation.info is also private.
11
              38.      Both of the unsolicited, autodialed text messages that Plaintiff
12

13 received lead to the following landing page on AccreditedDebtRelief.com:

14

15

16

17

18

19

20

21

22

23

24

25

26    8
                                                                - Link tracker using Charles – (acreliefnetwork.com
      forwards directly to accrediteddebtrelief.com.) The other URL’s shown in the image are for the sake of link
27    tracking.
28
                                            CLASS ACTION COMPLAINT
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 1

 2

 3

 4

 5

 6

 7

 8

 9

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11

12

13

14

15    9

16
                 39.    The above referenced landing page shows the direct connection
17

18 between Accredited and Beyond in the footer of the website which reads:

19

20

21

22

23
                                                                                        10
24

25

26
      9
           https://www.accrediteddebtrelief.com/free-quote/
27    10
           Id.
28
                                        CLASS ACTION COMPLAINT
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 1          40.   Plaintiff believes that both of the text messages are autodialed and

 2 sent en masse because the text messages are impersonal in nature and instruct the

 3
      recipient to interact with them in a way one would interact with an automated
 4

 5 program by having a STOP automatic opt-out.

 6          41.   Plaintiff has never given Accredited or Beyond consent to send
 7
      automated text messages to him.
 8

 9          42.   The unauthorized text messaged that were sent by Accredited, on
10 behalf of Beyond as alleged herein, harmed Plaintiff in the form of annoyance,

11
      nuisance, and invasion of privacy, and disturbed Jones’s use and enjoyment of his
12

13 cellular phone, in addition to the wear and tear on the phone’s hardware (including

14 the phone’s battery) and the consumption of memory on the phone.

15
            43.   Seeking redress for these injuries, Jones, on behalf of himself and a
16

17 Class of similarly situated individuals, brings suit under the Telephone Consumer

18 Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited autodialed text

19
      messages to cellular telephones, including text messages that were sent to phone
20

21 numbers registered on the DNC.

22
      ///
23
      ///
24

25 ///

26
      ///
27

28
                                 CLASS ACTION COMPLAINT
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 1                                     CLASS ALLEGATIONS

 2                Class Treatment Is Appropriate for Plaintiff’s TCPA Claim
 3
            44.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 4

 5 23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated

 6 and seeks certification of the following Classes:

 7
            Autodialed No Consent Class: All persons in the United States who
 8          from four years prior to the filing of this action through class
 9          certification (1) Defendants (or an agent acting on behalf of the
            Defendants) text messaged, (2) on the person’s cellular telephone
10          number, (3) using a text messaging platform substantially similar to the
11          text messaging platform Defendants used to text message Plaintiff, (4)
            for whom the Defendants claim (a) they obtained prior express consent
12          in the same manner as the Defendants claim they supposedly obtained
13          prior express consent to text message Plaintiff, or (b) they did not obtain
            prior express consent.
14

15          Do Not Call Registry Class: All persons in the United States who from
            four years prior to the filing of this action (1) Defendant (or an agent
16          acting on behalf of Defendant) called more than one time on his/her
17          residential telephone number, (2) within any 12-month period, (3)
            where the person’s telephone number had been listed on the National
18          Do Not Call Registry for at least thirty days, (4) for substantially the
19          same reason Defendant called Plaintiff, and (5) for whom Defendant
            claims (a) it obtained prior express written consent in the same manner
20
            as Defendant claims it supposedly obtained prior express written
21          consent to call, or (b) it did not obtain prior express written consent.
22
            45.     The following individuals are excluded from the Classes: (1) any
23
      Judge or Magistrate presiding over this action and members of their families; (2)
24

25 Defendants, their subsidiaries, parents, successors, predecessors, and any entity in

26
      which either Defendant or its parents have a controlling interest and their current or
27

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                                   CLASS ACTION COMPLAINT
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 1 former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

 2 properly execute and file a timely request for exclusion from the Classes; (5) the

 3
      legal representatives, successors or assigns of any such excluded persons; and (6)
 4

 5 persons whose claims against the Defendants have been fully and finally

 6 adjudicated and/or released. Plaintiff anticipates the need to amend the Class

 7
      definition following appropriate discovery.
 8

 9          46.   Numerosity: On information and belief, there are hundreds, if not
10 thousands of members of the Classes such that joinder of all members is

11
      impracticable.
12

13          47.   Commonality and Predominance: There are many questions of law
14 and fact common to the claims of Plaintiff and the Classes, and those questions

15
      predominate over any questions that may affect individual members of the Classes.
16

17 Common questions for the Classes include, but are not necessarily limited to the

18 following:

19
                  (a) whether Defendant Accredited or its agents used an automatic
20
                      telephone dialing system to send text messages to Plaintiff and the
21                    members of the Autodialed No Consent Class on behalf of
                      Beyond;
22

23                (b) whether Defendant Accredited or its agents sent more than 1 text
                      message to Plaintiff and the members of the Do Not Call Registry
24
                      Class on behalf of Beyond;
25
                  (c) whether the conduct of the Defendants constitutes a violation of
26
                      the TCPA; and
27

28
                                 CLASS ACTION COMPLAINT
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 1                 (d) whether members of the Classes are entitled to treble damages
                       based on the willfulness of Defendants’ conduct.
 2

 3          48.    Adequate Representation: Plaintiff will fairly and adequately

 4 represent and protect the interests of the Classes, and has retained counsel

 5
      competent and experienced in class actions. Plaintiff has no interests antagonistic
 6

 7 to those of the Classes, and the Defendants have no defenses unique to Plaintiff.

 8 Plaintiff and his counsel are committed to vigorously prosecuting this action on

 9
      behalf of the members of the Classes, and have the financial resources to do so.
10

11 Neither Plaintiff nor his counsel has any interest adverse to the Classes.

12          49.    Appropriateness: This class action is also appropriate for
13
      certification because the Defendants have acted or refused to act on grounds
14

15 generally applicable to the Classes and as a whole, thereby requiring the Court’s

16 imposition of uniform relief to ensure compatible standards of conduct toward the

17
      members of the Classes and making final class-wide injunctive relief appropriate.
18

19 Defendants’ business practices apply to and affect the members of the Classes

20
      uniformly, and Plaintiff’s challenge of those practices hinges on Defendants’
21
      conduct with respect to the Classes, not on facts or law applicable only to Plaintiff.
22

23 Additionally, the damages suffered by individual members of the Classes will

24
      likely be small relative to the burden and expense of individual prosecution of the
25
      complex litigation necessitated by Defendants’ actions. Thus, it would be virtually
26

27 impossible for the members of the Classes to obtain effective relief from

28
                                  CLASS ACTION COMPLAINT
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 1 Defendants’ misconduct on an individual basis. A class action provides the

 2 benefits of single adjudication, economies of scale, and comprehensive supervision

 3
      by a single court.
 4

 5                               FIRST CAUSE OF ACTION
                            Telephone Consumer Protection Act
 6                              (Violations of 47 U.S.C. § 227)
 7                (On Behalf of Plaintiff and the Autodial No Consent Class)
 8          50.     Plaintiff repeats and realleges paragraphs 1 through 49 of this
 9
      Complaint and incorporates them by reference.
10

11          51.     Defendant Accredited and/or its agents sent unwanted solicitation text
12 messages to cellular telephone numbers belonging to Plaintiff and the other

13
      members of the Autodialed No Consent Class using an autodialer on behalf of
14

15 Beyond.

16          52.     These solicitation text messages were sent en masse without the
17
      consent of the Plaintiff and the other members of the Autodialed No Consent Class
18

19 to receive such solicitation text messages.

20
            53.     Defendants’ conduct was negligent, wilful, or knowing.
21
            54.     The Defendants have, therefore, violated 47 U.S.C. §
22

23 227(b)(1)(A)(iii). As a result of Defendants’ conduct, Plaintiff and the other

24
      members of the Autodialed No Consent Class are each entitled to between $500
25
      and $1,500 for each and every text message.
26

27 ///

28
                                   CLASS ACTION COMPLAINT
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 1                                FIFTH CLAIM FOR RELIEF
                              Telephone Consumer Protection Act
 2                                 (Violation of 47 U.S.C. § 227)
 3                  (On Behalf of Plaintiff and the Do Not Call Registry Class)

 4            55.     Plaintiff repeats and realleges the paragraphs 1 through 49 of this
 5
      Complaint and incorporates them by reference herein.
 6

 7            56.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),
 8 provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

 9
      residential telephone subscriber who has registered his or her telephone number on
10

11 the national do-not-call registry of persons who do not wish to receive telephone

12 solicitations that is maintained by the federal government.”

13
              57.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are
14

15 applicable to any person or entity making telephone solicitations or telemarketing

16 calls to wireless telephone numbers.”11

17
              58.     Any “person who has received more than one telephone call within
18

19 any 12-month period by or on behalf of the same entity in violation of the

20
      regulations prescribed under this subsection may” may bring a private action based
21
      on a violation of said regulations, which were promulgated to protect telephone
22

23 subscribers’ privacy rights to avoid receiving telephone solicitations to which they

24
      object. 47 U.S.C. § 227(c).
25

26    11
        Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
      Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
27    153A1.pdf
28
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 1          59.    Defendant Accredited or its agents violated 47 C.F.R. § 64.1200(c) by

 2 initiating, or causing to be initiated, telephone solicitations to telephone subscribers

 3
      such as Plaintiff and the Do Not Call Registry Class members on behalf of Beyond,
 4

 5 who registered their respective telephone numbers on the National Do Not Call

 6 Registry, a listing of persons who do not wish to receive telephone solicitations

 7
      that is maintained by the federal government.
 8

 9          60.    Defendant Accredited or its agents violated 47 U.S.C. § 227(c)(5) on
10 behalf of Beyond because Plaintiff and the Do Not Call Registry Class received

11
      more than one telephone call, or text message in a 12-month period made by or on
12

13 behalf of the Defendants in violation of 47 C.F.R. § 64.1200, as described above.

14 As a result of Defendants’ conduct as alleged herein, Plaintiff and the Do Not Call

15
      Registry Class suffered actual damages and are entitled to a minimum of $500 in
16

17 damages, and up to $1,500 in damages, for each violation.

18                                  PRAYER FOR RELIEF
19
            WHEREFORE, Plaintiff Jones, individually and on behalf of the Classes,
20
      prays for the following relief:
21

22       a) An order certifying the Classes as defined above, and appointing Plaintiff as
23
            the representative of the Classes and his attorneys as Class Counsel;
24
         b) An award of actual and/or statutory damages and costs;
25

26

27

28
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 1      c) An order declaring that Defendants’ actions, as set out above, violate the

 2         TCPA;
 3
        d) An injunction requiring the Defendants to cease all unsolicited texting
 4

 5         activity, and to otherwise protect the interests of the Classes; and

 6      e) Such further and other relief as the Court deems just and proper.
 7
                                       JURY DEMAND
 8

 9         Plaintiff Jones requests a jury trial.
10                                            Respectfully Submitted,
11
                                              STANLEY JONES, individually and on
12                                            behalf of those similarly situated individuals
13
      Dated: November 7, 2019                 By: ___/s/ Amanda Benedict_____________
14                                               One of Plaintiff’s Attorneys
15
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25
                                              Attorneys for Plaintiff and the putative
26                                            Classes
27                                            *Pro Hac Vice motion forthcoming
28
                                  CLASS ACTION COMPLAINT
                                            -20-
